Case 2:18-cv-03893-RGK-AGR Document 85 Filed 06/17/19 Page 1 of 25 Page ID #:902




  1   Mike Arias (CSB #115385)
       mike@asstlawyers.com
  2   Alfredo Torrijos (CSB #222458)
       alfredo@asstlawyers.com
  3   ARIAS SANGUINETTI WANG & TORRIJOS, LLP
      6701 Center Drive West, 14th Floor
  4   Los Angeles, California 90045
      Telephone: (310) 844-9696
  5   Facsimile: (310) 861-0168
  6   Steven L. Woodrow*
        swoodrow@woodrowpeluso.com
  7   Patrick H. Peluso*
        ppeluso@woodrowpeluso.com
  8   Taylor T. Smith*
        tsmith@woodrowpeluso.com
  9   WOODROW & PELUSO, LLC
      3900 East Mexico Avenue, Suite 300
 10   Denver, Colorado 80210
      Telephone: (720) 213-0675
 11   Facsimile: (303) 927-0809
 12   *Pro Hac Vice
 13   Attorneys for Plaintiff and the alleged Classes
 14
                               UNITED STATES DISTRICT COURT
 15                           CENTRAL DISTRICT OF CALIFORNIA
 16                                 WESTERN DIVISION

 17
      Edwardo Munoz, individually and on
 18   behalf of all others similarly situated,               Case No. 2:18-cv-03893-RGK-AGR

 19                                    Plaintiff,               NOTICE OF PLAINTIFF’S
 20           v.                                                MOTION FOR PRELIMINARY
                                                                APPROVAL OF CLASS ACTION
 21   7-Eleven, Inc., a Texas corporation,                      SETTLEMENT AND
 22                                       Defendant.            MEMORANDUM IN SUPPORT

 23                                                             Date: July 15, 2019
 24                                                             Time: 9:00 a.m.
                                                                Judge: Hon. R. Gary Klausner
 25                                                             Courtroom: 850
 26                                                             Complaint Filed: May 9, 2018

 27

 28
      Notice of Plaintiff’s Motion for Preliminary Approval of Class Action Settlement and Memorandum in Support
Case 2:18-cv-03893-RGK-AGR Document 85 Filed 06/17/19 Page 2 of 25 Page ID #:903




  1            PLEASE TAKE NOTICE that on Monday, July 15, 2019, at 9:00 a.m., or
  2   as soon thereafter as counsel may be heard, counsel for Plaintiff Edwardo Munoz
  3   (“Plaintiff” or “Munoz”) shall appear before the Honorable R. Gary Klausner or any
  4   judge sitting in his stead in Courtroom 850 of the United States District Court for
  5   the Central District of California, Roybal Federal Building and U.S. Courthouse,
  6   255 East Temple Street, Los Angeles, California 90012 and present Plaintiff’s
  7   Motion for Preliminary Approval of Class Action Settlement.
  8            This motion is made pursuant to Federal Rule of Civil Procedure 23. As
  9   explained in the accompanying memorandum, preliminary approval is justified
 10   because the class settlement is fair, reasonable, and adequate. Further, the Court
 11   should find that Plaintiff’s proposed notice plan is reasonable and order that it be
 12   disseminated to the Classes.
 13            This Motion is based on this Notice and Motion, the Memorandum in
 14   Support of the Motion and the exhibits attached thereto1, oral argument of counsel,
 15   and any other matter that may be submitted at the hearing.
 16
 17                                                       Respectfully submitted,
 18
 19
      Dated: June 17, 2019                                Edwardo Munoz, individually and on behalf
                                                          of all others similarly situated,
 20
 21                                              By:       /s/ Steven L. Woodrow
                                                          One of Plaintiff’s Attorneys
 22
 23                                                       Mike Arias (CSB #115385)
                                                           mike@asstlawyers.com
 24                                                       Alfredo Torrijos (CSB #222458)
                                                           alfredo@asstlawyers.com
 25
      1
 26    Plaintiff recognizes that the attached settlement agreement does not bear the signature of 7-
      Eleven’s corporate representative. However, 7-Eleven has confirmed that a signature will be
 27   forwarded to Plaintiff’s counsel when administratively feasible.
 28
          Notice of Plaintiff’s Motion for Preliminary Approval of Class Action Settlement and Memorandum in Support
                                                            -2-
Case 2:18-cv-03893-RGK-AGR Document 85 Filed 06/17/19 Page 3 of 25 Page ID #:904



                                                       ARIAS SANGUINETTI WANG &
  1                                                          TORRIJOS, LLP
                                                       6701 Center Drive West, 14th Floor
  2                                                    Los Angeles, California 90045
                                                       Telephone: (310) 844-9696
  3                                                    Facsimile: (310) 861-0168
  4                                                    Steven L. Woodrow*
                                                         swoodrow@woodrowpeluso.com
  5                                                    Patrick H. Peluso*
                                                         ppeluso@woodrowpeluso.com
  6                                                    Taylor T. Smith*
                                                         tsmith@woodrowpeluso.com
  7                                                    WOODROW & PELUSO, LLC
                                                       3900 East Mexico Avenue, Suite 300
  8                                                    Denver, Colorado 80210
                                                       Telephone: (720) 213-0675
  9                                                    Facsimile: (303) 927-0809
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
       Notice of Plaintiff’s Motion for Preliminary Approval of Class Action Settlement and Memorandum in Support
                                                         -3-
Case 2:18-cv-03893-RGK-AGR Document 85 Filed 06/17/19 Page 4 of 25 Page ID #:905




  1                                             TABLE OF CONTENTS
  2   TABLE OF AUTHORITIES ................................................................................. ii
  3   I.        Introduction ...................................................................................................1
  4   II.       The FCRA ......................................................................................................3
  5   III.      Summary of the Plaintiff’s Claims, the Litigation History, and the
  6             Settlement Process .........................................................................................4
  7             A.       Plaintiff’s Claims and the Litigation Process ...................................4
  8             B.       The Mediation Process and Settlement History ...............................6
  9   IV.       Key Settlement Terms ...................................................................................6
 10             A.       Class Definition ...................................................................................7
 11             B.       Monetary Relief ...................................................................................7
 12             C.       Prospective Relief ................................................................................8
 13             C.       Release of Liability ..............................................................................8
 14   V.        The Proposed Settlement is Fundamentally Fair, Reasonable, and
 15             Adequate, and Thus Warrants Preliminary Approval. .............................8
 16             A.       Plaintiff Munoz and Class Counsel have Adequately Represented
 17                      the Classes. ...........................................................................................9
 18             B.       The Settlement Agreement was the Result of Protracted, Arm’s
 19                      Length Negotiations Overseen by an Experienced Mediator. ......11
 20             C.       The Settlement Agreement provides Class Members with
 21                      Substantial Relief. .............................................................................12
 22             D.       The Proposal Treats Class Members Equally. ...............................14
 23   VI.       The Proposed Class Notice Plan is Reasonable. .......................................15
 24   VII. Conclusion ....................................................................................................17
 25
 26
 27
 28
           Notice of Plaintiff’s Motion for Preliminary Approval of Class Action Settlement and Memorandum in Support
                                                                  -i-
Case 2:18-cv-03893-RGK-AGR Document 85 Filed 06/17/19 Page 5 of 25 Page ID #:906




  1                                      TABLE OF AUTHORITIES
  2   Erami v. JPMorgan Chase Bank, N.A., Case No. CV 15-7728 PSG (PLAx), 2018
  3                   WL 6133654 (C.D. Cal. Mar. 5, 2018) .................................................9
  4   Esomonu v. Omnicare, Inc., Case No. 15-cv-02003-HSG, 2019 WL 499750 (N.D.
  5                   Cal. Feb. 8, 2019) ................................................................................13
  6   Feist v. Petco Animal Supplies, Inc., Case No. 3:16-cv-01369-H-MSB, 2018 WL
  7                   6040801 (S.D. Cal. Nov. 16, 2018) ....................................................13
  8   Gilberg v. California Check Cashing Stores, LLC,
  9                   913 F.3d 1169 (9th Cir. 2019)...............................................................3
 10   Hanlon v. Chrysler Corp., 150 F.3d 1011 (9th Cir. 1998) ..........................10, 12, 14
 11   Hefler v. Wells Fargo & Company, Case No. 16-cv-05479-JST, 2018 WL 6619983
 12                   (N.D. Cal. Dec. 18, 2018) ...................................................................14
 13   In re Bluetooth Headset Prods. Liab. Litig., 654 F.3d 935 (9th Cir. 2011) ............11
 14   In re Heritage Bond Litigation, 2005 WL 1594403 (C.D. Cal. 2005) ....................11
 15   In re Syncor ERISA Litig., 516 F.3d 1095 (9th Cir. 2008) ..................................8, 12
 16   In re UBER FCRA Litigation, Case No. 14-cv-05200-EMC, 2018 WL 2047362
 17                   (N.D. Cal. May 2, 2018) .....................................................................13
 18   Lane v. Facebook, Inc., No. 10-16380, 2012 WL 4125857
 19                   (9th Cir. Sept. 20, 2012) ........................................................................9
 20   Rodriguez v. West Publishing Corp., 563 F.3d 948 (9th Cir. 2009)........................15
 21   Syed v. M-I, LLC, 853 F.3d 492 (9th Cir. 2017) ........................................................3
 22   Terrell v. Costco Wholesale Corp., No. 16-2-19140 (Wash. Superior Court, King
 23                   Cnty. June 15, 2018) ...........................................................................13
 24
 25   STATUTES, RULES, SECONDARY SOURCES
 26   Fair Credit Reporting Act, 15 U.S.C. § 1681, et seq. ............................................1, 3
 27
 28
        Notice of Plaintiff’s Motion for Preliminary Approval of Class Action Settlement and Memorandum in Support
                                                             - ii -
Case 2:18-cv-03893-RGK-AGR Document 85 Filed 06/17/19 Page 6 of 25 Page ID #:907




  1   Fed. R. Civ. P. 23, et seq. ................................................................................ passim
  2   Manual for Complex Litigation § 21.632 (4th ed. 2004) ..........................................9
  3   Conte & Newberg, 4 Newberg on Class Actions, (4th ed. 2002)..................8, 12, 15
  4
  5
  6
  7
  8
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
         Notice of Plaintiff’s Motion for Preliminary Approval of Class Action Settlement and Memorandum in Support
                                                             - iii -
Case 2:18-cv-03893-RGK-AGR Document 85 Filed 06/17/19 Page 7 of 25 Page ID #:908




  1   I.        Introduction
  2             Plaintiff Edwardo Munoz (“Plaintiff” or “Munoz”) and Defendant 7-Eleven,
  3   Inc. (“Defendant” or “7-Eleven”) have reached a class action settlement, which, if
  4   approved, will resolve the above-captioned case challenging 7-Eleven’s alleged use
  5   of an improper consumer report disclosure under the Fair Credit Reporting Act, 15
  6   U.S.C. § 1681, et seq. (“FCRA” or “Act”). Specifically, Plaintiff alleges that 7-
  7   Eleven willfully violated the FCRA by providing consumer report disclosures to its
  8   applicants and employees that did not standalone as required by the Act.
  9             The Parties have vigorously engaged in the litigation of these claims for over
 10   a year. In that time, Plaintiff has defeated a bid to dismiss the case, attained class
 11   certification for a national class and a California-only subclass, exchanged
 12   extensive written and oral discovery, disseminated notice to the certified Classes,
 13   briefed cross motions for summary judgment, and engaged in preparations for trial.
 14   In the midst of litigating, counsel for the Parties began to discuss the potential for a
 15   resolution. On January 16, 2019, following a request by the Parties, the Court
 16   referred the case to private mediation to be held no later than May 3, 2019 (Dkt.
 17   48). Counsel for the Parties thereafter scheduled a full-day mediation session for
 18   April 9, 2019 in Toronto, Canada with nationally-recognized mediator Michael
 19   Dickstein. Despite making significant progress, the Parties did not achieve a
 20   resolution at the close of the mediation session. Instead, the Parties agreed to
 21   continue settlement discussions as they briefed their cross-motions for summary
 22   judgment and prepared for trial.
 23             Ultimately, and with the continued assistance of the mediator, the Parties
 24   reached the proposed settlement agreement as trial preparations were underway.
 25   (“Settlement Agreement” or “Settlement,” attached hereto as Exhibit A.) The result
 26   is a strong Settlement that provides class members with a meaningful recovery,
 27
 28
           Notice of Plaintiff’s Motion for Preliminary Approval of Class Action Settlement and Memorandum in Support
                                                             -1-
Case 2:18-cv-03893-RGK-AGR Document 85 Filed 06/17/19 Page 8 of 25 Page ID #:909




  1   including monetary payments to class members as well as substantive changes to 7-
  2   Eleven’s consumer report disclosure on a going-forward basis.
  3          Pursuant to the Settlement Agreement, 7-Eleven has agreed to create a
  4   Settlement Fund of one million nine hundred seventy-two thousand and five
  5   hundred dollars ($1,972,500). The Settlement Fund will be used to pay all valid
  6   claims after payment of the costs of notice and administration plus any reasonable
  7   incentive award and attorneys’ fees and costs that are approved by the Court. Each
  8   class member who submits a timely, valid claim will be eligible to receive one
  9   Claimant Payment. The Claimant Payments will be of equal value and will be
 10   calculated by subtracting from the Settlement Fund all amounts for notice and
 11   administration, any approved incentive award to the Class Representative, and any
 12   award of reasonable attorneys’ fees and costs, and then dividing by the total number
 13   of approved claims. The Claimant Payments will be capped at a maximum of $550.
 14   Additionally, the Settlement Agreement provides class members with Notice of
 15   their rights to be excluded from, comment upon, and object to the Settlement
 16   Agreement together with the procedures for obtaining a Claimant Payment through
 17   the submission of a simple Claim Form (attached to the Settlement Agreement as
 18   Exhibit C), which can be mailed to the Settlement Administrator or submitted
 19   electronically via the Settlement Website. (See Settlement Agrmt., Ex. A.)
 20          While Plaintiff/Class Representative Munoz is confident that he would have
 21   prevailed at trial had the case not settled, he is likewise cognizant of the risks of
 22   proceeding forward and the substantial and immediate relief that the agreement
 23   provides to class members. As such, and as set forth more fully below, Plaintiff
 24   moves the Court to preliminarily approve the Settlement Agreement on the terms
 25   set forth therein, approve the proposed Notice Plan, and schedule a final fairness
 26   hearing. In support, Plaintiff states as follows:
 27
 28
        Notice of Plaintiff’s Motion for Preliminary Approval of Class Action Settlement and Memorandum in Support
                                                          -2-
Case 2:18-cv-03893-RGK-AGR Document 85 Filed 06/17/19 Page 9 of 25 Page ID #:910




  1   II.    The FCRA
  2          A brief summary of the law that forms the basis of Plaintiff’s claims helps
  3   put the Settlement Agreement in context. The FCRA requires, prior to any
  4   consumer report being obtained about an applicant or employee, that the employer
  5   provide a disclosure and authorization informing the applicant or employee that
  6   such a report may be procured for employment purposes. The disclosure and
  7   authorization must be “clear and conspicuous” and presented “in a document that
  8   consists solely of the disclosure.” See § 1681b(b)(2)(A)(i). The Ninth Circuit has
  9   made clear that the inclusion of any extraneous information in the disclosure,
 10   beyond those expressly authorized by the statute, violates the FCRA. See Syed v. M-
 11   I, LLC, 853 F.3d 492, 501 (9th Cir. 2017) (“Congress’s express exception to the
 12   ‘solely’ requirement, allowing the disclosure document to also contain the
 13   authorization to procure a consumer report, does not mean that the statute contains
 14   other implicit exceptions as well.”); see also Gilberg v. California Check Cashing
 15   Stores, LLC, 913 F.3d 1169, 1175 (9th Cir. 2019) (“We concluded the statute meant
 16   what it said: the required disclosure must be in a document that ‘consist[s] ‘solely’
 17   of the disclosure.’”).
 18          Applied here, Plaintiff believes that he would ultimately be able to show that
 19   7-Eleven’s Disclosure Regarding Background Investigation (“Disclosure”) violated
 20   the FCRA’s stand-alone disclosure requirement, and that it did so willfully. That is,
 21   7-Eleven’s form combines the disclosures regarding consumer reports and
 22   investigative consumer reports. Further, the form contains additional information,
 23   including vague statements about state statutory provisions, information about
 24   Sterling Talent Solutions, and a blanket authorization allowing the disclosure of
 25   information directly to 7-Eleven. Furthermore, Plaintiff would be able to
 26   demonstrate that 7-Eleven had regular access to legal counsel, that it had the
 27
 28
        Notice of Plaintiff’s Motion for Preliminary Approval of Class Action Settlement and Memorandum in Support
                                                          -3-
Case 2:18-cv-03893-RGK-AGR Document 85 Filed 06/17/19 Page 10 of 25 Page ID #:911




  1   resources to comply with FCRA, and that its systematic failure to do so was willful.
  2   III.   Summary of the Plaintiff’s Claims, the Litigation History, and the
  3          Settlement Process
  4          A.       Plaintiff’s Claims and the Litigation Process.
  5          In February 2018, following his termination from 7-Eleven, Plaintiff Munoz
  6   contacted his counsel to discuss his legal rights. (See Declaration of Steven L.
  7   Woodrow (“Woodrow Decl.”), attached hereto as Exhibit B.) Prior to the initiation
  8   of the Action, Class Counsel undertook an extensive investigation into Plaintiff
  9   Munoz’s employment with 7-Eleven. (Woodrow Decl. ¶ 4.) The investigation
 10   began by interviewing Munoz regarding his employment and subsequent
 11   termination. (Id. 7.) Then, on March 9, 2018, Class Counsel sent a letter to 7-Eleven
 12   to obtain Plaintiff’s complete employment file. (Id. 5.) On March 30, 2018, 7-
 13   Eleven responded and provided part of Munoz’s employment file, which included,
 14   among other documents, the Disclosure Regarding Background Investigation. (Id. ¶
 15   6.) Following a thorough review of Munoz’s employment file and additional
 16   conversations with Munoz himself, Class Counsel determined that a good faith
 17   basis existed to pursue the case as a putative class action on behalf of Plaintiff
 18   Munoz and all individuals similarly situated. (Id. ¶ 8.)
 19          On May 9, 2018, Plaintiff filed a class action complaint in the United States
 20   District Court for the Central District of California against 7-Eleven alleging
 21   violations of the FCRA, which was subsequently amended on July 9, 2018. (See
 22   Dkts. 1, 23.) Specifically, the Complaint alleged that 7-Eleven violated the FCRA
 23   by procuring consumer reports about its job applicants and employees without first
 24   providing a lawful disclosure and a meaningful opportunity to authorize the release
 25   of the consumer reports.
 26          Shortly thereafter, 7-Eleven moved to dismiss the Complaint. (See Dkt. 24.)
 27
 28
        Notice of Plaintiff’s Motion for Preliminary Approval of Class Action Settlement and Memorandum in Support
                                                          -4-
Case 2:18-cv-03893-RGK-AGR Document 85 Filed 06/17/19 Page 11 of 25 Page ID #:912




  1   On September 5, 2018, following full briefing and oral argument, the Court issued
  2   its Order denying Defendant’s motion to dismiss. (See Dkt. 37.) Directly after
  3   completing briefing 7-Eleven’s motion to dismiss, the Parties worked to brief the
  4   Court regarding Plaintiff’s Motion for Class Certification. (Dkts. 33, 38, 40.) On
  5   October 18, 2018, the Court issued its Order certifying Plaintiff’s proposed classes.
  6   (See Dkt. 43.)
  7          Plaintiff next worked to develop a notice plan, which the Court approved on
  8   February 12, 2019. (Dkt. 50.) Class Counsel then worked to effectuate the Notice
  9   Plan. This included working with Kurtzman Carson Consultants, LLC (“KCC”) to
 10   finalize the notices and ensure that they were sent to the class members. (Woodrow
 11   Decl. 13.) Shortly after the notice was disseminated, Class Counsel began to field
 12   daily calls from class members seeking additional information about the case. (Id.)
 13   This process required Class Counsel to devote considerable time to assisting class
 14   members with various questions/concerns. (Id.)
 15          Throughout the duration of this litigation, the Parties were engaged in
 16   extensive discovery. (Woodrow Decl. ¶ 15.) This includes serving and responding
 17   to discovery requests and conducting depositions—Class Counsel deposed 7-
 18   Eleven’s corporate representative in Dallas, Texas on January 30, 2019, and counsel
 19   for 7-Eleven deposed Plaintiff Munoz on February 20, 2019 in Newport Beach, CA.
 20   (Id. ¶ 15.) Plaintiff also conducted third party discovery. (Id.) Counsel for both
 21   Parties regularly met-and-conferred regarding discovery disputes and, when
 22   necessary, raised the disputes with the Court. (Id.)
 23          Beginning in 2019, the Parties started to discuss the possibility of scheduling
 24   a private mediation session. (Woodrow Decl. ¶ 16.) Despite both sides’ confidence
 25   in their respective positions, the Parties ultimately agreed to attend a full-day
 26   mediation session. (Id.)
 27
 28
        Notice of Plaintiff’s Motion for Preliminary Approval of Class Action Settlement and Memorandum in Support
                                                          -5-
Case 2:18-cv-03893-RGK-AGR Document 85 Filed 06/17/19 Page 12 of 25 Page ID #:913




  1          B.       The Mediation Process and Settlement History
  2          On April 9, 2019, counsel for both Parties engaged in a full-day mediation
  3   session in Toronto, Ontario, Canada conducted by Michael E. Dickstein—a well
  4   respected mediator with substantial class action experience. (Woodrow Decl. ¶ 17.)
  5   The mediation was adversarial with both Parties discussing their respective claims
  6   and planned defenses. (Id. ¶ 18.) Despite extensive discussions, the Parties were
  7   unable to reach an agreement that day. (Id.) Instead, the Parties agreed to proceed
  8   with briefing and arguing their cross motions for summary judgment, and preparing
  9   for the impending trial. (Id. ¶ 19.) At the same time, the Parties continued
 10   discussions in an effort to keep the potential for settlement alive. (Id. ¶ 21.)
 11          In the midst of trial preparation—including, compiling exhibit lists, witness
 12   lists, drafting their memorandum of contentions of law and fact, drafting their jury
 13   instructions, and holding the Rule 16-2 meeting—and with the assistance of the
 14   mediator, the Parties reached an agreement in principal to resolve the claims at
 15   issue. (Woodrow Decl. ¶¶ 21, 22.) Only after an agreement was reached in principal
 16   with respect to the class members did the Parties discuss an incentive award for the
 17   Class Representative and an award of reasonable attorneys’ fees for Class
 18   Counsel—which of course would be left to the Court’s discretion in any case. (Id. ¶
 19   22.)
 20          The end result of this process is a Settlement Agreement that is the result of
 21   arm’s length negotiations and is free of collusion. And when compared to other
 22   FCRA settlements, the Settlement Agreement compares favorably. As such, and as
 23   set forth below, the Court should grant preliminary approval.
 24   IV.    Key Settlement Terms
 25          The precise terms of the Settlement are set forth in the attached Settlement
 26   Agreement. (See Ex. A.) Below is a brief summary of the essential terms.
 27
 28
        Notice of Plaintiff’s Motion for Preliminary Approval of Class Action Settlement and Memorandum in Support
                                                          -6-
Case 2:18-cv-03893-RGK-AGR Document 85 Filed 06/17/19 Page 13 of 25 Page ID #:914




  1          A.       Class Definition
  2          The “Class” is defined as all persons who fall into the definition of either
  3   class certified by the Court in its Order granting Class Certification (dkt. 43). The
  4   Classes are defined as follows:
  5          Disclosure Class: All persons in the United States who (1) from a
  6          date [two years] prior to the filing of this initial complaint in this
  7          action to the date notice is sent to the Disclosure Class; (2) applied for
  8          employment with Defendant; (3) about whom Defendant procured a
  9          consumer repot; and (4) who were provided the same for FCRA
 10          disclosure and authorization as the disclosure and authorization form
 11          that Defendant provided to Plaintiff.
 12          California Subclass: All members of the Disclosure Class who reside
 13          in California.
 14   (Settlement Agrmt. § 1.7.)
 15          B.       Monetary Relief
 16          The Settlement provides class members who file valid claims with substantial
 17   relief. Specifically, 7-Eleven has agreed to establish a Settlement Fund of
 18   $1,972,500 (“Settlement Fund”). (Settlement Agrmt. § 1.43.) The Settlement Fund
 19   will be used to pay all approved claims (up to a maximum per-claim amount of
 20   $550), Settlement Administration Expenses, any Incentive Award, and any Fee
 21   Award. After the subtraction of the Settlement Administration Expenses, any
 22   Incentive Award, and any Fee Award from the Settlement Fund, the remaining
 23   amount—the Net Settlement Fund—will be divided by the total number of
 24   approved claims. Each class member who submits an approved claim shall be
 25   entitled to receive one (1) Claimant Payment. Claimant Payments will be of equal
 26   value, up to a maximum of $550, and will be calculated by dividing the Net
 27
 28
        Notice of Plaintiff’s Motion for Preliminary Approval of Class Action Settlement and Memorandum in Support
                                                          -7-
Case 2:18-cv-03893-RGK-AGR Document 85 Filed 06/17/19 Page 14 of 25 Page ID #:915




  1   Settlement Fund by the total number of approved claims.
  2          C.       Prospective Relief
  3          Additionally, 7-Eleven agreed to remedy the very issues that gave rise to the
  4   instant litigation. That is, on a going-forward basis 7-Eleven will utilize a stand-
  5   alone disclosure that does not contain any extraneous information, as required by
  6   the FCRA. (Settlement Agrmt. § 2.2.)
  7          D.       Release of Liability
  8          In exchange for the relief described above, 7-Eleven will receive a full
  9   release of any claims relating to the FCRA that belong to Plaintiff Munoz and any
 10   class member who does not opt-out. (Settlement Agrmt. § 3.)
 11          As explained below, the terms of the settlement are decidedly favorable to
 12   the Classes and the Court should grant preliminary approval to this settlement.
 13   V.     The Proposed Settlement is Fundamentally Fair, Reasonable, and
 14          Adequate, and Thus Warrants Preliminary Approval.
 15          Fed. R. Civ. P. 23(e) provides that “[t]he claims, issues, or defenses of a
 16   certified class . . . may be settled, voluntarily dismissed, or compromised only with
 17   the court’s approval.” Fed. R. Civ. P. 23(e). This requires a two-step process. Fed.
 18   R. Civ. P. 23(e); see also 4 Herbert B. Newberg & Alba Conte, Newberg on Class
 19   Actions (“Newberg”), §11.25, 3839 (4th ed. 2002). The first step is a preliminary,
 20   pre-notification hearing to determine whether the proposed settlement falls “within
 21   the range of possible approval.” Newberg, §11.25, at 3839 (quoting Manual for
 22   Complex Litigation §30.41 (3d ed. 1995)); see also In re Syncor ERISA Litig., 516
 23   F.3d 1095, 1110 (9th Cir. 2008). Preliminary Approval is appropriate and notice
 24   should be sent to the class where “the proposed settlement appears to be the product
 25   of serious, informed, non-collusive negotiations, has no obvious deficiencies, does
 26   not improperly grant preferential treatment to class representatives or segments of
 27
 28
        Notice of Plaintiff’s Motion for Preliminary Approval of Class Action Settlement and Memorandum in Support
                                                          -8-
Case 2:18-cv-03893-RGK-AGR Document 85 Filed 06/17/19 Page 15 of 25 Page ID #:916




  1   the class, and falls within the range of possible approval.” Erami v. JPMorgan
  2   Chase Bank, N.A., Case No. CV 15-7728 PSG (PLAx), 2018 WL 6133654, at *5
  3   (C.D. Cal. Mar. 5, 2018).
  4          The Manual for Complex Litigation characterizes the preliminary approval
  5   stage as an “initial evaluation” of the fairness of the proposed settlement made by a
  6   court on the basis of written submissions and informal presentations from settling
  7   parties. Manual for Complex Litigation, § 21.632 (4th ed. 2004). “[W]hether a
  8   settlement is fundamentally fair within the meaning of Rule 23(e) is different from
  9   the question whether the settlement is perfect in the estimation of the reviewing
 10   court.” Lane v. Facebook, Inc., No. 10-16380, 2012 WL 4125857, at * 3 (9th Cir.
 11   Sept. 20, 2012).
 12          In December 2018, amendments to Rule 23 became effective that clarified
 13   that courts should give consideration at the preliminary approval stage to the factors
 14   to be considered for final approval. Fed. R. Civ. P. 23(e)(1)(B). Those factors
 15   include whether: (1) the class representatives and class counsel have adequately
 16   represented the class; (2) the proposal was negotiated at arm's length; (3) the relief
 17   provided for the class is adequate; and (4) the proposal treats class members
 18   equitably relative to each other. Fed. R. Civ. P. 23(e)(2). After an initial review of
 19   the factors and the Court being assured that it is likely to approve the proposal
 20   following a final fairness hearing, the Court should direct notice to the class. Fed.
 21   R. Civ. P. 23(e)(1).
 22          A preliminary review of each of the final approval factors demonstrates that
 23   this settlement falls “within the range of possible approval” and warrants
 24   preliminary approval.
 25          A.       Plaintiff Munoz and Class Counsel have Adequately Represented
 26                   the Classes.
 27
 28
        Notice of Plaintiff’s Motion for Preliminary Approval of Class Action Settlement and Memorandum in Support
                                                          -9-
Case 2:18-cv-03893-RGK-AGR Document 85 Filed 06/17/19 Page 16 of 25 Page ID #:917




  1          The first factor to consider is whether the class representative and class
  2   counsel have adequately represented the class. Fed. R. Civ. P. 23(e)(2)(A). To
  3   determine if the representation is in fact adequate, the Court must ask “(1) do the
  4   named plaintiffs and their counsel have any conflicts of interest with other class
  5   members and (2) will the named plaintiffs and their counsel prosecute the action
  6   vigorously on behalf of the class?” Hanlon v. Chrysler Corp., 150 F.3d 1011, 1020
  7   (9th Cir. 1998).
  8          In its Order granting class certification (dkt. 43), this Court previously found
  9   that Class Counsel and Plaintiff Munoz would adequately represent the Classes, and
 10   that no conflicts of interest existed. Since that ruling, no conflicts have arisen and
 11   Class Counsel and Plaintiff have vigorously litigated the claims at issue. For his
 12   part, Plaintiff Munoz has demonstrated his commitment to this action by regularly
 13   communicating with counsel regarding the progress of the case, giving testimony at
 14   his deposition, responding to discovery, and preparing to testify at trial.
 15          Similarly, Class Counsel have been working diligently to secure the best
 16   possible outcome for the class members. In furtherance of that objective, counsel
 17   have briefed and defeated a bid to dismiss the case, certified the Classes, and
 18   briefed cross motions for summary judgment. Further, counsel have deposed 7-
 19   Eleven’s corporate representative, served written discovery on 7-Eleven, conducted
 20   third-party discovery, and briefed and argued several discovery disputes. In short,
 21   Class Counsel have invested substantial time and resources into furthering the
 22   interests of the Classes. Moreover, and as previously found by this Court, Class
 23   Counsel have the requisite skills and experience to effectively represent the Classes’
 24   interests and will continue to do so throughout the pendency of the action. (See
 25   Firm Resume of Woodrow & Peluso, LLC, a copy of which is attached to the
 26   Woodrow Decl. as Exhibit 1.) As such, Plaintiff and Class Counsel have and will
 27
 28
        Notice of Plaintiff’s Motion for Preliminary Approval of Class Action Settlement and Memorandum in Support
                                                         - 10 -
Case 2:18-cv-03893-RGK-AGR Document 85 Filed 06/17/19 Page 17 of 25 Page ID #:918




  1   continue to adequately represent the interest of the members of the Classes.
  2          B.       The Settlement Agreement was the Result of Protracted, Arm’s
  3                   Length Negotiations Overseen by an Experienced Mediator
  4          The second factor requires the Court to evaluate whether the proposal was
  5   negotiated at arm’s length. Fed. R. Civ. P. 23(e)(2)(B). When a settlement is
  6   negotiated at arm’s length by experienced counsel after meaningful discovery, there
  7   exists a presumption that the end product is fair and reasonable. See In re Heritage
  8   Bond Litigation, 2005 WL 1594403, at *2 (C.D. Cal. 2005). Though not
  9   determinative, the presence of a neutral mediator who assisted the settlement
 10   negotiations is further proof that the settlement was reached fairly and provides
 11   adequate relief. In re Bluetooth Headset Prods. Liab. Litig., 654 F.3d 935, 948 (9th
 12   Cir. 2011).
 13          The Settlement Agreement on review is the product of extensive arm’s length
 14   negotiations. Class Counsel have extensive experience litigating class actions and,
 15   more significantly, FCRA class actions. (See Firm Resume, attached as Exhibit 1 to
 16   the Woodrow Decl.) The combined experience of Class Counsel demonstrates that
 17   the Classes were well represented at the bargaining table. For its part, 7-Eleven
 18   retained experienced defense counsel to represent its interests in the negotiations as
 19   well. Accordingly, there can be no serious dispute that both sides were represented
 20   by experienced counsel.
 21          Further, the negotiations were hard fought, protracted, and adversarial. Even
 22   after a full-day mediation session overseen by a neutral mediator, the prospects of
 23   settlement seemed tenuous. The Parties left the mediation session prepared to
 24   litigate the case through trial and any appeals. Despite confidence in their respective
 25   positions, both Parties continued to discuss a potential resolution while preparing
 26   for trial. With the continued assistance of the mediator, the Parties eventually
 27
 28
        Notice of Plaintiff’s Motion for Preliminary Approval of Class Action Settlement and Memorandum in Support
                                                         - 11 -
Case 2:18-cv-03893-RGK-AGR Document 85 Filed 06/17/19 Page 18 of 25 Page ID #:919




  1   reached an agreement. Moreover, the agreement was reached after all discovery had
  2   been completed and the Parties had an thorough understanding of each other’s
  3   respective positions.
  4          Consequently, the Settlement Agreement is not the product of collusion.
  5   Rather, it reflects an independent judgment that is both fair and reasonable to both
  6   Parties.
  7          C.       The Settlement Agreement provides Class Members with
  8                   Substantial Relief
  9           The third factor requires the Court to consider whether the “relief provided
 10   for the class is adequate, taking into account: (i) the costs, risks, and delay of trial
 11   and appeal; (ii) the effectiveness of any proposed method of distributing relief to the
 12   class, including the method of processing class-member claims; (iii) the terms of
 13   any proposed award of attorney's fees, including timing of payment; and (iv) any
 14   agreement required to be identified under Rule 23(e)(3). Fed. R. Civ. P.
 15   23(e)(2)(C).
 16          As this Court is undoubtedly aware, strong judicial policy exists favoring the
 17   voluntary conciliation and settlement of complex class action litigation. In re
 18   Syncor, 516 F.3d at 1101 (citing Officers for Justice v. Civil Serv. Comm’n, 688
 19   F.2d 615 (9th Cir. 1982)). “In most situations, unless the settlement is clearly
 20   inadequate, its acceptance and approval are preferable to lengthy and expensive
 21   litigation with uncertain results.” Newberg, §11.50, 155 (4th ed. 2002). While a
 22   district court has discretion regarding the approval of a proposed settlement, it
 23   should give “proper deference to the private consensual decision of the parties.”
 24   Hanlon, 150 F.3d at 1027.
 25          The instant Settlement Agreement provides substantial relief to class
 26   members. While the total potential recovery for willful violations of the FCRA—
 27
 28
        Notice of Plaintiff’s Motion for Preliminary Approval of Class Action Settlement and Memorandum in Support
                                                         - 12 -
Case 2:18-cv-03893-RGK-AGR Document 85 Filed 06/17/19 Page 19 of 25 Page ID #:920




  1   $100 to $1,000 per violation are, to say the least, enticing. That reality only
  2   manifests itself assuming that Plaintiff’s claims both survive summary judgment
  3   and prevail at trial. No small task. Even still, the prospect of an appeal would be but
  4   a foregone conclusion. All told, this case could drag on for years with the potential
  5   for no recovery at all. Conversely, when the relief provided is compared to the
  6   inherent risk that comes with protracted class litigation, it becomes apparent that the
  7   proposed settlement is clearly in the best interest of the class members. That is, the
  8   agreement provides immediate monetary payments to class members who file valid
  9   claims, and requires 7-Eleven to implement changes to remedy the very issues that
 10   gave rise to this litigation. The per-claim amount available is up to $550, which is
 11   on the higher end of the statutorily-available damages.
 12          Additionally, this case isn’t the first of its kind, and a review of recent FCRA
 13   settlements demonstrates that final approval has been granted in cases that provide
 14   less relief to class members. See Terrell v. Costco Wholesale Corp., No. 16-2-19140
 15   (Wash. Superior Court, King Cnty. June 15, 2018) (granting final approval to a
 16   $2.49 million settlement fund with 113,445 class members); see also Feist v. Petco
 17   Animal Supplies, Inc., Case No. 3:16-cv-01369-H-MSB, 2018 WL 6040801 (S.D.
 18   Cal. Nov. 16, 2018) (granting final approval to a $1,200,000 settlement fund with
 19   37,279 class members); see also In re UBER FCRA Litigation, Case No. 14-cv-
 20   05200-EMC, 2018 WL 2047362 (N.D. Cal. May 2, 2018) (granting final approval
 21   to a $7,500,000 settlement fund with 1,025,954 class members); see also Esomonu
 22   v. Omnicare, Inc., Case No. 15-cv-02003-HSG, 2019 WL 499750 (N.D. Cal. Feb.
 23   8, 2019) (granting final approval to a $1,300,000 with approx. 45,000 class
 24   members).
 25           Moreover, when factoring a projected claims rate and subtracting projected
 26   expenses, the agreement continues to impress. That is, assuming a claims rate of 5%
 27
 28
        Notice of Plaintiff’s Motion for Preliminary Approval of Class Action Settlement and Memorandum in Support
                                                         - 13 -
Case 2:18-cv-03893-RGK-AGR Document 85 Filed 06/17/19 Page 20 of 25 Page ID #:921




  1   (a favorable response rate), administrative fees and costs of $125,000, a $5,000
  2   Incentive Award, and assuming solely for the sake of this illustration that the Fee
  3   Award is ultimately 25%, then each Claimant Payment would equal approximately
  4   $517. To avoid duplication, the breakdown of the claims process and how all fees
  5   will be paid are described in greater detail in Section IV, B, supra. This amount
  6   further demonstrates that the relief provided to class members falls “within the
  7   range of possible approval.”
  8          Finally, Class Counsel will likely request twenty-five (25) percent of the
  9   Settlement Fund as attorneys’ fees plus costs (the Settlement Agreement allows
 10   Class Counsel to seek up to 33% of the Settlement Fund as an award of reasonable
 11   attorneys’ fees and expenses). In the Ninth Circuit, twenty-five percent of the
 12   common fund is the benchmark award for attorneys’ fees. See Hanlon, 150 F.3d at
 13   1029. Class Counsel will provide sufficient support for the fee award at least
 14   fourteen (14) days prior to the opt-out/objection deadline. This will allow class
 15   members who wish to comment upon the fee award or request an exclusion to do so
 16   with adequate time.
 17          The Court should therefore find that the Settlement Agreement provides class
 18   members with adequate relief and this factor favors approval.
 19          D.       The Proposal Treats Class Members Equally.
 20          The fourth and final factor asks whether “the proposal treats class members
 21   equitably relative to each other.” Fed. R. Civ. P. 23(e)(2)(D). Here, the “Court
 22   considers whether the Settlement ‘improperly grant[s] preferential treatment to class
 23   representatives or segments of the class.’” Hefler v. Wells Fargo & Company, Case
 24   No. 16-cv-05479-JST, 2018 WL 6619983, at *8 (N.D. Cal. Dec. 18, 2018) (quoting
 25   In re Tableware Antitrust Litig., 484 F. Supp. 2d 1078, 1079 (N.D. Cal. 2007)).
 26          Put simply, no class member or segment of the class will receive any
 27
 28
        Notice of Plaintiff’s Motion for Preliminary Approval of Class Action Settlement and Memorandum in Support
                                                         - 14 -
Case 2:18-cv-03893-RGK-AGR Document 85 Filed 06/17/19 Page 21 of 25 Page ID #:922




  1   preferential treatment under this Settlement Agreement. Rather, all class members
  2   were subjected to the same background check process, and were presented with
  3   identical disclosures. This agreement allows every class member the right to file a
  4   claim and obtain one Claimant Payment. The Net Settlement Fund will then be
  5   divided by the total number of Claimant Payments. Thus, every individual who files
  6   a valid claim form will receive an equal payment. As such, this factor argues in
  7   favor of approval.
  8          For the reasons stated above, the Settlement Agreement is reasonable and
  9   easily falls within the range of possible approval. As such, the Court should
 10   preliminarily approve the Agreement.
 11   VI.    The Proposed Class Notice Plan is Reasonable
 12          Lastly, to satisfy the requirements of Rule 23 and due process, Rule 23(e)(1)
 13   provides that “[t]he court must direct notice in a reasonable manner to all class
 14   members who would be bound by the proposal.” Fed. R. Civ. P. 23(e)(1).
 15   “Settlement notices are supposed to present information about a proposed
 16   settlement neutrally, simply, and understandably.” Rodriguez v. West Publishing
 17   Corp., 563 F.3d 948, 962 (9th Cir. 2009). Further, notice is “adequate if it may be
 18   understood by the average class member.” Newberg, § 11:53, at 167; see also
 19   Rodriguez, 563 F.3d at 962 (quoting Churchill Vill., LLC v. Gen. Elec., 361 F.3d
 20   566, 575 (9th Cir. 2004) (“Notice is ‘adequate if it may be understood by the
 21   average class member.’”)).
 22          A brief review of the effectiveness of the prior notice plan demonstrates the
 23   reasonableness of the proposed second notice plan. In April 2019, in accordance
 24   with the notice plan approved by this Court, KCC disseminated notice to the class
 25   members. (Woodrow Decl. ¶ 13.) Out of 52,165 total potential class members, KCC
 26   mailed direct mailed notices to 52,009 individuals, or 99.7% of class members. (Id.
 27
 28
        Notice of Plaintiff’s Motion for Preliminary Approval of Class Action Settlement and Memorandum in Support
                                                         - 15 -
Case 2:18-cv-03893-RGK-AGR Document 85 Filed 06/17/19 Page 22 of 25 Page ID #:923




  1   ¶ 14.) To date, out of the 52,009 direct mailings, 7,111 mailings have been returned
  2   as undeliverable. (Id.) For these mailings, KCC will work to identify a new address
  3   to reach each individual—including, utilizing the national change of address
  4   registry, reverse phone look-ups of telephone numbers, and other appropriate
  5   methods. (Id.) Concurrent with the direct mailings, KCC was able to locate email
  6   addresses and direct notice via electronic mail to 49,448 class members, or 94.79%
  7   of all class members. (Id.) KCC was also able to determine that only 912
  8   individuals, or 1.75 percent of all class members, did not receive notice via either
  9   electronic mail or direct mail. Overall, these results are impressive.
 10          As evidenced by the proposed notices appended to the Settlement
 11   Agreement, the Notice Plan developed by the Parties is reasonable and would be
 12   understood by the average class member. (See Settlement Agrmt., Exs. A, B, & C.)
 13   Given its prior success, the Parties have selected KCC to administer the settlement
 14   notice. For the settlement notice, KCC will utilize the Class List previously
 15   provided by 7-Eleven to disseminate notice to the Classes. KCC will be able to
 16   utilize the results of the prior notice plan to increase the effectiveness of the notice.
 17   That is, within 30 days of Preliminary Approval, KCC will disseminate the Short
 18   Form (postcard) Notice, via first class mail, to the 45,447 class members who
 19   successfully received the class notice. KCC will also work to identify a current
 20   address, using all steps reasonably necessary, for the 6,562 class members whose
 21   class notice was determined to be undeliverable. Upon locating a new address, KCC
 22   will deliver the postcard notice to these individuals as well. Coupled with the
 23   additional electronic mail notice, the effectiveness of the settlement notice will
 24   likely exceed that of the class certification notice.
 25          Further, KCC has established and will continue to maintain a Settlement
 26   Website that will host the traditional Long Form Notice. (Settlement Agrmt. § 4.1.)
 27
 28
        Notice of Plaintiff’s Motion for Preliminary Approval of Class Action Settlement and Memorandum in Support
                                                         - 16 -
Case 2:18-cv-03893-RGK-AGR Document 85 Filed 06/17/19 Page 23 of 25 Page ID #:924




  1   Following the Court approving Plaintiff’s prior notice plan, KCC established a case
  2   website at 7elevenfcralawsuit.com. To avoid confusion, this website will also serve
  3   as the Settlement Website. On it class members can find the long form notice, the
  4   settlement agreement, the preliminary approval order, and other relevant
  5   documents. Further, class members will be able to use this website to download
  6   claim forms for mailing or to submit such claim forms electronically.
  7          The Notice Plan will provide information to class members about the
  8   settlement reached in the case at hand. (Settlement Agrmt. § 4.1.) The Notice Plan
  9   will explain the terms and provisions of the proposed settlement, including the
 10   amount of the settlement fund and how it will be distributed. (Id.) The Notice Plan
 11   will advise the class members of their rights, including the right to be excluded
 12   from, comment upon, and object to the Agreement and the procedures for taking
 13   such actions. (Id.) The Notice Plan will also refer the class members to the
 14   Settlement Website to explain the procedures for submitting a claim form (Id.)
 15   Finally, the notice will also include Class Counsels’ contact information where
 16   class members can reach out for additional information.
 17          The draft notices are attached as exhibits to the settlement agreement and are
 18   near final form, pending any additions or edits required by the Court.
 19   VII. Conclusion
 20          For the reasons stated above, Plaintiff respectfully requests that the Court
 21   enter and Order: (1) granting preliminary approval of the Settlement Agreement in
 22   this matter, (2) approving the form and content of the Notice to be sent to the class
 23   members pursuant to the terms of the Settlement Agreement, (3) setting dates for
 24   filing claims, requesting exclusion, and objecting, and (4) scheduling a final
 25   fairness hearing.
 26
 27
 28
        Notice of Plaintiff’s Motion for Preliminary Approval of Class Action Settlement and Memorandum in Support
                                                         - 17 -
Case 2:18-cv-03893-RGK-AGR Document 85 Filed 06/17/19 Page 24 of 25 Page ID #:925




  1
  2
                                                        Respectfully Submitted,

  3                                                     EDWARDO MUNOZ, individually and on
  4
                                                        behalf of all others similarly situated,

  5   Dated: June 17, 2019                              By: /s/ Steven L. Woodrow
  6                                                           One of Plaintiff’s Attorneys

  7                                                     Mike Arias (CSB #115385)
  8                                                       mike@asstlawyers.com
                                                        Alfredo Torrijos (CSB #222458)
  9                                                       alfredo@asstlawyers.com
 10                                                     ARIAS SANGUINETTI WANG &
                                                        TORRIJOS, LLP
 11                                                     6701 Center Drive West, 14th Floor
 12                                                     Los Angeles, California 90045
                                                        Telephone: (310) 844-9696
 13                                                     Facsimile: (310) 861-0168
 14
                                                        Steven L. Woodrow*
 15                                                       swoodrow@woodrowpeluso.com
 16                                                     Patrick H. Peluso*
                                                          ppeluso@woodrowpeluso.com
 17                                                     Taylor T. Smith*
 18                                                       tsmith@woodrowpeluso.com
                                                        WOODROW & PELUSO, LLC
 19                                                     3900 East Mexico Avenue, Suite 300
 20                                                     Denver, Colorado 80210
                                                        Telephone: (720) 213-0675
 21                                                     Facsimile: (303) 927-0809
 22
                                                        *Pro Hac Vice
 23
 24
 25
 26
 27
 28
        Notice of Plaintiff’s Motion for Preliminary Approval of Class Action Settlement and Memorandum in Support
                                                         - 18 -
Case 2:18-cv-03893-RGK-AGR Document 85 Filed 06/17/19 Page 25 of 25 Page ID #:926




  1                                   CERTIFICATE OF SERVICE
  2          The undersigned hereby certifies that a true and correct copy of the above
  3   titled document was served upon counsel of record by filing such papers via the
  4   Court’s ECF system on June 17, 2019.
  5                                                               /s/ Steven L. Woodrow
  6
  7
  8
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
        Notice of Plaintiff’s Motion for Preliminary Approval of Class Action Settlement and Memorandum in Support
                                                         - 19 -
